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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
                                                            17-cr-64-DWF-KMM
                                      Plaintiff, ))
                                                  )         STATEMENT OF FACTS
                        V.                        )         IN SUPPORT OF
                                                  )         EXCLUSION OF TIME
                                                  )         UNDER SPEEDY TRIAL
EDWARD S. ADAMS,                                  )         ACT
                                     Defendant. )
                                                  )
                                                  )


         Pursuant to 18 U.S.C. § 3161(h)(7)(A), I, Edward S. Adams, the defendant in this case,

agree to the following statement of facts in support of the parties’ Joint Motion to Continue

Trial:

             Beginning on September 28, 2017, my counsel filed significant pre-trial motions.

              The Court issued its rulings on these motions on December 10, 2018. See Docket

              Nos. 232-33.

             Those motions concerned the government’s execution of a search warrant for two

              of my Yahoo! email accounts. While the motions were being litigated, my

              counsel requested and the government agreed that it would not access certain

              emails that it seized pursuant to the search warrant.

             The government now seeks to access approximately 35,000 emails that it seized

              from my Yahoo! accounts. These are emails that were not viewed by the

              government during the execution of the search warrant, and as a result they have

              not been reviewed for privileged information by the parties. These emails likely

              contain a significant number of privileged communications. If the government is

              to review these emails, it must first take reasonable measures to protect privileged
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              information therein.

             My counsel and I believe (and the government has indicated it agrees) that trial,

              currently set for January 28, 2019, should be continued in order to provide time to

              resolve these issues.

             In addition, one of my lead attorneys is presently expecting, and will be unable to

              travel to Minnesota later in the winter. She anticipates being on maternity leave

              until approximately September 16, 2019.

             Thus, my counsel and I believe (and the government has indicated it agrees) that

              trial, currently set for January 28, 2019, should be continued until October 21,

              2019 in order to provide sufficient time to resolve the remaining issues, to ensure

              continuity of counsel, and to prepare for trial.

             The Court previously excluded the period from March 31, 2017 (the date of my

              original arraignment) through January 28, 2019 from the Speedy Trial Act

              computations in this case. See Docket Nos. 108 & 169.

         Based on the above facts, I request that the period of time from January 28, 2019 (the

current trial date) until October 21, 2019 (the date my counsel and I have proposed as our trial

date in this matter) be excluded from the time in which I would otherwise have to be brought

to trial on my case.

         I have discussed this matter with my attorney. I voluntarily make this request, with full

knowledge of my rights under the Speedy Trial Act.


Dated:       December 17, 2018                  s/Edward S. Adams
                                                Edward S. Adams, Defendant
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